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            EXHIBIT 28
    Redacted Version of
Document Sought to be Sealed
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                                   CONFIDENTIAL

 1                   IN THE UNITED STATES DISTRICT COURT
 2                FOR THE NORTHERN DISTRICT OF CALIFORNIA
 3                               SAN JOSE DIVISION
                                        ---o0o---
 4     PATRICK CALHOUN, et al.,                  )
 5     on behalf of themselves and               )
 6     all others similarly                      )
 7     situated,                                 )
 8                 Plaintiffs,                   )
 9     vs.                                       ) Case No.
10     GOOGLE LLC,                               ) 5:20-cv-5146-LHK-SVK
11                 Defendant.                    )
       ______________________________)
12                                  CONFIDENTIAL
13                                      ---o0o---
14                      Videotaped Zoom Deposition of
15                                       VIC LIU
16                            Wednesday, March 30, 2022
17                                      ---o0o---
18
19
20     Reported by:
21     Katy E. Schmidt
22     RPR, RMR, CRR, CSR 13096
23     Veritext Job No.: 5158044
24
25     PAGES 1 - 243

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 1         IN THE UNITED STATES DISTRICT COURT               1           INDEX OF EXAMINATION
 2       FOR THE NORTHERN DISTRICT OF CALIFORNIA 2                           ---o0o---
 3               SAN JOSE DIVISION                           3                            Page
                    ---o0o---                                4 Examination by Mr. Barnes       08
 4 PATRICK CALHOUN, et al.,            )
                                                             5 Examination by Mr. Watkins       232
 5 on behalf of themselves and )
                                                             6               ---o0o---
 6 all others similarly        )
                                                             7
 7 situated,               )
 8        Plaintiffs,      )                                 8      QUESTIONS INSTRUCTED NOT TO ANSWER
 9 vs.                   ) Case No.                          9
10 GOOGLE LLC,                   ) 5:20-cv-5146-LHK-SVK     10             Page    Line
11        Defendant.         )                              11
   ______________________________)                          12            (NOTHING OFFERED.)
12                                                          13
13        BE IT REMEMBERED that, pursuant to Notice, and 14                  ---o0o---
14 on Wednesday, the 30th day of March, 2022, commencing at 15
15 the hour of 9:04 a m., thereof, in San Jose, California, 16
16 before me, KATY E. SCHMIDT, a Certified Shorthand        17
17 Reporter in and for the County of Yolo, State of
                                                            18
18 California, there virtually personally appeared
                                                            19
19
                                                            20
20                   VIC LIU
21 called as a witness herein, who, being by me first duly  21
22 sworn, was thereupon examined and interrogated as        22
23 hereinafter set forth.                                   23
24                                                          24
25                                                          25
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 1 APPEARANCES:                                         1            INDEX OF EXHIBITS
 2 For The Plaintiffs:
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 4       DICELLO LEVITT GUTZLER                         3 Exhibit 1      Email                58
 5       BY: DAVID A. STRAITE, Esq.                     4 Exhibit 2      Email                61
         BY: ADAM PROM, Esq.
 6       One Grand Central Place                        5 Exhibit 3      Document The Science of     104
         60 East 42nd Street, Suite 2400                6            RLSA
 7       New York, New York 10165                       7 Exhibit 4      First Amended Class      ***
         646.933.1000
 8       dstraite@dicellolevitt.com                     8            Action Complaint
 9                                                      9 Exhibit 5      Document O&O Ads 1P 3PCD        134
         SIMMONS HANLY CONROY                          10            Plan
10       BY: JASON "JAY" BARNES, Esq.
         BY: ERIC JOHNSON, Esq.                        11 Exhibit 6      Google 3PCD A1AR           141
11       One Court Street                              12 Exhibit 7      Google Preserve 1P       178
         Alton, Illinois 62002
                                                       13            Audiences on Search & YT
12       618.693.3104
         jaybarnes@simmonsfirm.com                     14            After Chrome Deprecates
13                                                     15            3P Cookies
14 For The Defendants:
                                                       16 Exhibit 8      Document Remarketing       195
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15       QUINN EMANUEL URQUHART & SULLIVAN LLP         17            User List Event          v3
16       BY: BRETT WATKINS, Esq.                       18 Exhibit 9      Document Launch doc:       218
         BY: TEUTA FANI, Esq.
17       711 Louisiana Street, Suite 500
                                                       19            Increase RLSA user lists
18       Pennzoil Place                                20                    fetch limit 800
19       Houston, Texas 77002                                        to 1600
         713.221.7030
20       brettwatkins@quinnemanuel.com
                                                       21 Exhibit 10     Document User Data Envelope 225
21                                                     22            Definition &
22 Also present:                                       23            Measurement
23       Cassia Leet, Videographer
24       Mark Mao, Esq., Brown Plaintiffs              24 Exhibit 11     Email                228
25       Matthew Gubiotti, In-house counsel            25 Exhibit 12     Email                229
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 1 onto their website, certain of Ms. Kindler's data from 09:34                  1 ways they can do that is to either integrate with the          09:38
 2 her browser would be sent to Google.                     09:34                2 Google Ads remarketing JavaScript, or they can do it             09:38
 3        So that's one    I think that's one example.     09:34                 3 through      by becoming Google Analytics customer.               09:38
 4 We can get into the specifics of those examples, but I'm 09:34                4     Q. And by Google         can you describe what you          09:38
 5 saying      I'm asking if you can identify sources from         09:34         5 mean by Google Ads?                                  09:38
 6 which Google builds profiles based on advertiser data            09:34        6     A. What it means is the advertiser, by having a 09:38
 7 broadly? And then we can narrow in on the different              09:35        7 Google Ads account, they will be downloading a                   09:38
 8 types of sources.                            09:35                            8 JavaScri t       a piece of JavaScriP. code snippet from        09:38
 9    A. Okay. So just to quickly clarify, in that          09:35                9 their Google Ads account and embed that sni          et into      09:38
10 example you just gave, what would you call the source in 09:35               10 their website.                               09:38
11 that example?                               09:35                            11     Q. And, I'm sorry, what do you mean by a                 09:38
12     Q. The source in that example would be the             09:35             12 Google Ads account?                               09:39
13 Google Ads source code that caused the transmission from 09:35               13     A. A Google Ads account is just an account of an 09:39
14 the hospital's website to Google.                     09:35                  14 advertiser who are or plan to spend advertising dollars 09:39
15        MR. WATKINS: Objection           objection. Vague. 09:35              15 with Google.                                 09:39
16        THE WITNESS: Okay. So I think I understand 09:35                      16     Q. Spend advertising dollars with Google where? 09:39
17 your original question.                        09:35                         17        MR. WATKINS: Objection. Vague.                        09:39
18        The sources in our terminology is     broadly 09:35                   18        THE WITNESS: So a Google Ads account allows 09:39
19 speaking is either the user browser, which in a similar 09:35                19 them to potentially advertise a range of services.           09:39
20 or almost identical scenario to that example you              09:36          20 BY MR. BARNES:                                       09:39
21 described, the browser will be supplying data into            09:36          21     Q. Okay. The Google Ads account, where does it 09:39
22 Google while the user is browsing the advertiser              09:36          22 allow them to advertise?                          09:39
23 website.                                  09:36                              23     A. I can give a quick list of examples. It may 09:39
24        Another source can be mobile apps owned by the 09:36                  24 not be comprehensive.                             09:40
25 advertiser.                               09:36                              25        For example, the Google Ads account allows the 09:40
                                                                      Page 18                                                              Page 20

          And the last source can be the advertiser         09:36                1 advertiser to set up ads campaigns to be shown on               09:40
 2 themselves using different channels to share the user's 09:36                 2 Google Search or YouTube or gmail or across the Google 09:40
 3 information directly with Google.                       09:36                 3 display network.                              09:40
 4 BY MR. BARNES:                                     09:36                      4    Q. And when you say Google display network, is                09:40
 5     Q. Okay. And now I would like to narrow in on               09:36         5 that separate from Double Click Display Ads or is that 09:40
 6 when the user's browser supplies the data to Google.             09:36        6 the same thing as Double Click Display Ads?                    09:40
 7        What are the different programs through which 09:36                    7    A. So in terms of that, I would need a              09:40
 8 a user's browser will supply data to build these           09:36              8 clarification what you mean by Double Click Display Ads, 09:40
 9 profiles?                                 09:37                               9 that whole phrase together.                         09:40
10        MR. WATKINS: Objection. Vague.                         09:37          10    Q. Okay. So sometimes when you            you're aware 09:40
11        THE WITNESS: So to answer that question I                09:37        11 of when      can you explain what a network transmission 09:40
12 would need a clarification of what you mean by program. 09:37                12 is, Mr. Liu?                                09:40
13 BY MR. BARNES:                                     09:37                     13        MR. WATKINS: Objection. Vague. Calls for                  09:41
14     Q. You know what, Mr. Liu, I thought you were                09:37       14 speculation.                                09:41
15 going to ask that clarification.                  09:37                      15        THE WITNESS: So your question is the network 09:41
16        So one example I think would be remarketing              09:37        16 transmission meaning        again, I'm asking to clarify       09:41
17 lists for Search Ads.                         09:37                          17 that question.                              09:41
18        Another example may be a Double Click dot net 09:37                   18        Are we referring to network the computer              09:41
19 Display Ads source code.                           09:37                     19 concept or are you referring to network more as a              09:41
20        So those are two examples. And I       again,       09:37             20 business term?                                09:41
21 I'm trying to start broad and then we can narrow in.            09:37        21 BY MR. BARNES:                                       09:41
22        What are the examoles of which ou are aware 09:37                     22    Q. That's a fair question.                   09:41
23 through which a user's browser supplies data to Google 09:37                 23       I'm speaking to the types of data flows that 09:41
24 when a user is on a non G ogle website?                    09:37             24 you can see from       for example, the Chrome browser to 09:41
25     A. So broadly s11eaking, the advertiser       the     09:38              25 Google would be a network transmission.                      09:41
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     properties on Google's own website or in Google's own             I0:40       I Yes.                                   10:44
 2 apps.                                    10:41                                 2     Q. And what are those profiles being used to           10:44
 3         But that's a clarification I would ask you to I0:41                    3 serve Search Ads?                               10:44
 4 further make.                               10:41                              4     A. So there all<_Profiles we build from             10:44
 5     Q. That's a fair clarification for you to ask.        I0:41                5 advertiser rovided data, and there are rofiles being 10:44
 6         In this context I mean Google Ads, the program 10:41                   6 built from Google observed data.                      10:44
 7 available to advertisers, not a specific advertisement 10:4 I                  7     Q. Okay. So for profiles that you build from          10:44
 8 for shoes or whatever it may be.                     10:41                     8 advertiser data, what does that include?                 I0:44
 9     A. Okay. Then can you repeat this question              10:41              9     A. I believethis isthe e uivalent to an earlier 10:44
10 again?                                    10:41                               10 9!!._estion you asked earlier, but I can re eat the same      10:44
11     Q. Sure.                              10:41                               11 answer.                                   10:44
12         Does Display Ads use profile information?           10:41             12          I remember you    you were asking me what          10:44
13         MR. WATKINS: Objection. Vague. And I                      10:41       13 sources does advertiser supplied profile come from? So 10:44
14 think     objection. Vague.                       10:41                       14 I can                                    10:45
15         THE WITNESS: Right. Ifelt that forthat             10:41              15     Q. Okay.                               10:45
16 question I was asking for a further clarification, what 10:41                 16     A. So our later uestion, one way I can answer 10:45
17 you mean by profile in order to answer that, does            10:41            17 is to re11eat that same answer to you. I thought that       10:45
18 Display Ads use profile?                          10:41                       18 was...                                  10:45
19 BY MR. BARNES:                                      10:41                     19     Q. Okay. Well that's fair.                   10:45
20     Q. Right.                             10:41                               20          And one of those is browser    information       10:45
21         And I guess my clarifying question to you was: 10:41                  21 sent from a browser to Google?                        10:45
22 Does      do Display Ads have a      back out.             10:42              22     A. Mm hm.                                10:45
23         Does Display Ads, the product Google makes                I0:42       23     Q. Wasthat a yes? Sorry.                      10:45
24 available to advertisers, have a separate profile system 10:42                24     A. Yes. It's one of the sources in building this 10:45
25 than Google Ads, meaning Google Ads, the product made                 10:42 25 advertiser data profile.                         10:45
                                                                        Page46                                                                         Page48

  I available to advertisers?                        10:42                              Q. Okay. And then you also mentioned                  10:45
 2      A. So generally speaking, Display Ads that           the 10:42            2 Google observed data.                             10:45
 3 system that's serving Display Ads, they have a system, 10:42                   3          What do you mean by "Google observed data"?              I0:45
 4 broadly speaking, which is creating and maintaining a 10:42                    4     A. I mean Google       the user activities that       I0:45
 5 broad set of these profiles.                      10:42                        5 happens on Google's owned and operated properties, which 10:45
 6          And to answer the second part of your            10:43                6 Google is able to observe. Also subject to many             10:45
 7 question, Google Ads being interpreted as the                10:43             7 user facing control, including all these controls we        10:45
 8 advertiser facing product, directly facing advertisers, 10:43                  8 have extensively gone over previously, specifically the 10:46
 9 for that directly advertiser facing products, we do not 10:43                  9 four controls we just talked about; WAA, SWA, and ads              10:46
10 build any end user profile at all.                 10:43                     10 personalization. And there's a sub control we didn't go 10:46
11          And therefore the answer to your original          I0:43            11 into detail.                              10:46
12 question, there is really no direct comparison.            10:43             12      Q. Does                                10:46
13          But one is somethingthat exists. One is          10:43              13      A. I mean, there's a subset                   10:46
14 somethingthat doesn't exist.                       10:43                     14           THE COURT REPORTER: Sorry. There's a little 10:46
15      Q. Okay. Profiles, is it your testimony that         10:43              15 bit of overlap andthe audio is not super clear.            10:46
16 profiles only exist for Display Ads?                  10:43                  16           MR. BARNES: I'm sorry. That was           that was 10:46
17      A. What do you mean by only exist? When you say 10:43                   17 my fault.                                  10:46
18 something only exist, it means       it kind of implies      10:43           18 BY MR. BARNES:
19 it's being absent in somewhere else.                  10:43                  19      Q. Sorry, Mr. Liu.                        10:46
20          So can you clarify what do you imply by            10:43            20           Doesthe WAA setting impact what data is sent 10:46
21 what absence are you implying?                        10:43                  21 from a Chrome browser to Google?                          10:46
22      Q. Is rofile data used to inform Search Ads            10:43            22           MR. WATKINS: Objection. Vague.                    10:46
23                                                  10:44                       23           THE WITNESS: The answer is no.                   10:47
24      A. Broad peaking) yes. There are a number of 10:44                      24 BY MR. BARNES:                                      10:47
25 differt:Il!_profiles being used in serving Search Ads.        10:44      25          Q. Does the SWA setting impact what data is sent 10:47
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                                                    Deposition Errata Sheet
                                               Case: Calhoun, et al. v. Google LLC
                                                       Deponent: Vic Liu
                                               Date of Deposition: March 30, 2022

                   I, Vic Liu, hereby certify that I have read the transcript of my testimony taken under oath
            in my deposition on the 30th day of March, 2022; that the transcript is a true, complete record of
            my testimony and that the answers on the record as given by me are true and correct, with the
            following exceptions:

             Pg. and Ln.         Now Reads                   Should Read           Reason
             Pg: 9 Ln:17         answer                      repeat                Misspoke

             Pg: 12 Ln: 23       interfacing                 facing                Transcription Error

             Pg: 13 Ln: 22       sign                        signed                Transcription Error

             Pg: 13 Ln: 23       sign                        signed                Transcription Error

             Pg: 14 Ln: 20       sign                        signed                Transcription Error

             Pg: 14 Ln: 20       sign                        signed                Transcription Error

             Pg: 14 Ln: 23       supply                      supplied              Transcription Error

             Pg: 14 Ln: 24       possess                     possesses             Transcription Error

             Pg: 27 Ln: 22       Mr. (sic)                   Ms.                   Misspoke

             Pg: 28 Ln: 5        Mr.                         Ms.                   Misspoke

             Pg: 28 Ln: 15       Mr.                         Ms.                   Misspoke

             Pg: 29 Ln: 1        Mr.                         Ms.                   Misspoke

             Pg: 29 Ln: 1        turn                        turned                Transcription Error

             Pg: 29 Ln: 5        Mr.                         Ms.                   Misspoke

             Pg: 29 Ln: 8        or web mobile               or mobile             Transcription Error

             Pg: 37 Ln: 6        responsible                 responsible for a     Transcription Error

             Pg: 38 Ln: 20       sign                        signed                Transcription Error

             Pg: 42 Ln: 8        ‘cause                      because               Transcription Error




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             Pg. and Ln.         Now Reads                   Should Read           Reason
             Pg: 42 Ln: 20       track                       tracking              Transcription Error

             Pg: 52 Ln: 4        service                     surface               Transcription Error

             Pg: 52 Ln: 21       app, iOS                    app on iOS            Transcription Error

             Pg: 52 Ln: 24       building                    built-in              Transcription Error

             Pg: 59 Ln: 20       assist the                  a sister              Transcription Error


             Pg: 63 Ln: 7        team                        teams                 Transcription Error

             Pg: 63 Ln: 23       as                          ads on                Transcription Error

             Pg: 64 Ln: 14       want                        went                  Transcription Error

             Pg: 66 Ln: 25       have                        has                   Transcription Error

             Pg: 67 Ln: 12       disjoint                    disjointed            Transcription Error

             Pg: 67 Ln: 16       disjoint                    disjointed            Transcription Error

             Pg: 71 Ln: 3        sign                        signed                Transcription Error

             Pg: 71 Ln: 19       sign-in                     signed-in             Transcription Error

                                 Display Ads,                Display Ads to
             Pg: 79 Ln: 16                                                         Transcription Error
                                 Google Publisher            Google Publisher

             Pg: 86 Ln: 23       ?                           .                     Transcription Error

             Pg: 96 Ln: 6        close                       code                  Transcription Error

             Pg: 99 Ln: 3        features, they              features – they       Transcription Error

             Pg: 99 Ln: 4        thing, this                 thing – this          Transcription Error

             Pg: 101 Ln: 1       the                         (delete)              Transcription Error

             Pg: 109 Ln: 13      sign-in                     signed-in             Transcription Error




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             Pg. and Ln.         Now Reads                   Should Read      Reason

             Pg: 119 Ln: 18      need                        needs            Transcription Error

             Pg: 123 Ln: 21      Another                     Under the        Transcription Error

             Pg: 139 Ln: 3       TRDR                        TL;DR            Transcription Error

             Pg: 163 Ln: 25      lost                        lose             Transcription Error

             Pg: 227 Ln: 5       have                        had              Transcription Error

             Pg: 227 Ln: 8       that                        (delete)         Transcription Error




                                                                               5/4/2022

                                 VIC LIU                                           DATE




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